'-   ..           Case 8:17-cv-01596-PJM Document 64 Filed 11/28/17 Page 1 of 1
                   Case 8:17-cv-01596-PJM Document 43.3 Filed 10/25/17 Page 1 of 1

                                                                                       ,"
                                       UNITED STATES DISTRICT COURT !"                                     "~r
                                                                                                               "'t
                                                                                                           - "' .•.
                                           DISTRICT OF MARYLAND
                                                                                     ZO/1 NOV 28 P 2:58
           THE DISTRICT OF COLUMBIA AND                                                     L..   .~
           THE STATE OF MARYLAND,                                                           ,,

                                  Plaintiffs,

           vs.
                                                              Case No. 8:17-cv-01 596
          DONALD J. TRUMP, in his official
          capacity as President of the United States of
          America,

                                  Defendants.



                                 JRDER ON MOTION FOR LEAVE TO SERVE DOCUMENT
                                      PRESERVATION SUBPOENAS

                 This matter has come before the Court on Plaintiffs' Motion for Leave to Serve

          Document Preservation Subpoenas. Based on the motion, any response thereto, and the entire

          record herein, good cause is found and the motion is GRANTED. It is hereby

                 ORDERED that the parties shall be permitted to serve subpoenas on third-parties for the

          sole purpose of preservation of documents. No document production will be required prior to the

          earlier of, (a) entry of a scheduling order opening discovery, or (b) further order of this Court.



                 SO ORDERED this ~ay             of
